           Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 1 of 22




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                       :
                                                :
       v.                                       : No. 1:21-cr-00447-CJN-03
                                                :
JOSHUA CHRISTOPHER DOOLIN,                      :
    et al.                                      :



    DEFENDANT JOSHUA CHRISTOPHER DOOLIN’S MOTION FOR
  TRANSFER OF THE CASE TO MIDDLE DISTRICT OF FLORIDA WITH
   INCORPORATED MEMORANDUM OF POINTS AND AUTHORITIES

       COMES NOW Defendant, Joshua Christopher Doolin, by and through

undersigned counsel, pursuant to Federal Rule of Criminal Procedure 21(a), hereby

respectfully moves this Honorable Court for the entry of an Order to transfer the

proceedings to the Middle District of Florida. See Exhibit 1, Jury Survey (comparing

similar districts).1

       As grounds, the following is stated:

                                    Background

       Mr. Doolin is charged with violations of 18 U.S.C. § 1752(a)(1) - Knowingly

Entering or Remaining in any Restricted Building or Grounds Without Lawful

Authority (Count 16), and 18 U.S.C. §1752(a)(2) – Disorderly and Disruptive


       1
        The jury survey attached was created by an expert hired by the Office of
the Federal Public Defender as an effort to assess the federal jury pool in the
District of Columbia. This motion to transfer venue is largely based on a similar
motion filed in U.S. v. Gieswein, 21-cr-24 (EGS), and in U.S. v. Sean McHugh,
21-453-JDB.

                                          -1-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 2 of 22




Conduct in a Restricted Building or Grounds. (Count 17) Both charges are

misdemeanors, and neither charge alleged acts of violence by Mr. Doolin.

      Mr. Doolin lives in Polk City, Florida.

      A jury trial is scheduled for September 12, 2002.

                                    ARGUMENT

      Both the Fifth and Sixth Amendments secure the right to trial by an

impartial jury. Const. amends. V, VI; see also Skilling v. United States, 561 U.S.

358, 378 (2010). The importance of an impartial jury is fundamental to Due Process

and, notwithstanding constitutional venue prescriptions, when prejudice makes it

such that a defendant cannot obtain a fair and impartial trial in the indicting

district, the district court must transfer the proceedings upon the defendant’s

motion. Fed. R. Crim. P. 21(a); see also Skilling, 561 U.S. at 378.

      In some instances, the hostility of the venue community is so severe that it

gives rise to a presumption of juror prejudice. See Patton v. Yount, 467 U.S. 1025,

1031 (1984) (distinguishing between presumed venire bias and actual juror bias). As

recently as 2010, the Supreme Court reaffirmed the presumption approach

articulated in Patton and identified three factors to guide the lower courts in

determining whether a presumption should attach: (1) the size and characteristics

of the jury pool; (2) the type of information included in the media coverage; and (3)




                                          -2-
          Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 3 of 22




the time period between the arrest and trial, as it relates to the attenuation of the

media coverage.2 Skilling, 561 U.S. at 378.

      Where it attaches, the Court has further recognized that the presumption of

prejudice overrides juror declarations of impartiality during voir dire because such

attestations may be insufficient to protect a defendant’s rights in particularly

charged cases. Murphy v. Fla., 421 U.S. 794, 802 (1975) (“Even these indicia of

impartiality might be disregarded in a case where the general atmosphere in the

community or courtroom is sufficiently inflammatory.”); see also Irvin v. Dowd, 366

U.S. 717, 728 (1961) (“No doubt each juror was sincere when he said that he would

be fair and impartial to petitioner, but psychological impact requiring such a

declaration before one’s fellows is often its father.”). Indeed, on appeal of a denial of

a motion for change of venue, an appellate court need not even examine the voir

dire record if it finds that the presumption attached. Rideau v. Louisiana, 373 U.S.

723, 726-27 (1963) (“But we do not hesitate to hold, without pausing to examine a

particularized transcript of the voir dire examination of the members of the jury,

that due process of law in this case required a [transfer].”). Thus, under this



      2
         Though not relevant to the instant motion, the Court identified a fourth
factor for consideration upon appellate review, following trial in the contested
venue: (4) whether the jury convicted the defendant on all counts or only on a
subset of counts. The lack of uniformity in result after denial of a motion to
transfer venue, the Court observed, indicates that the jury was impartial and
capable of rendering a verdict on only the facts presented, rather than
preconceived notions of guilt

                                           -3-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 4 of 22




precedent, voir dire is simply not a cure for significant and substantiated Due

Process concerns about the jury pool.

      Each of those concerns is pressing in this case.

      A.     The size and characteristics of the District of Columbia jury
             pool weigh in favor of finding a presumption of prejudice.

      The foundation for the presumption of prejudice is found in Rideau. 373 U.S.

at 727. In Rideau, the first factor that the Court weighed in favor of a finding of

prejudice was that about half of the small jury pool had been exposed to prejudicial

media reporting about the case. See id. Despite the fact that voir dire revealed that

only three jurors had actually seen the broadcasts at issue, the Court found that the

share of the pool that was tainted was significant enough as to render the defendant

presumptively prejudiced. See id.

      Because measuring the reach and impact of negative media reporting is

difficult, in applying Rideau, many courts have focused on population size and

diversity as a proxy for the share of the population that was likely impacted. For

example, in Skilling, the Court observed that while the number of Enron victims in

Houston was higher than that of other crimes, it was far from universal, and

because Houston is the fourth-largest city in the United States, and is highly

diverse, a significant number of prospective jurors would have had no connection to

Enron whatsoever. Skilling, 561 U.S. at 358 (“[E]xtensive screening questionnaire




                                          -4-
          Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 5 of 22




and followup [sic] voir dire yielded jurors whose links to Enron were either

nonexistent or attenuated.”).

      In contrast to Houston, the District of Columbia is one of the smaller major

US cities, with a population under 700,000. 3 And the impact of the events of

January 6 on the residents of the District of Columbia were far more widespread

than that of Enron in Houston, affecting a far greater share of residents than the

conduct at issue in Skilling.

      First, as the Court is no doubt aware, a huge proportion of District of

Columbia residents either work for the federal government themselves or have

friends or family who do. Specifically, as of September 2017, the U.S. Office of

Personnel Management reported that there are 600,000 federal civil workers and

annuitants in the greater DC area (excluding postal workers, federal bureau of

investigation workers, and staff on several federal commissions). 4 Nearly 200,000

of those workers and annuitants are within the District itself. Id. With a total

population of around 690,000, it seems clear that any given member of the District


      3
         See 2020 Census Data Shows DC’s Population Growth Nearly Tripled
Compared to Previous Decade, DC.gov (Apr. 26, 2021) (DC population recorded
by census as 689,545),
https://dc.gov/release/2020-census-data-shows-dcs-population-growth
nearly-tripled-compared-previous-decade
      4
         Federal Civilian Employment, OPM (Sept. 2017),
https://www.opm.gov/policy-data oversight/data-analysis-documentation/federa
l-employment-reports/reports publications/federal-civilian-employment/.


                                          -5-
           Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 6 of 22




jury pool has a greater likelihood of being closely connected to the federal

government than those in comparable metro areas. In fact, as of 2019, according to

the DC Policy Center, active federal employment (including postal workers)

accounts for nearly a third of all jobs in the District itself. 5

And of course, for each federal worker, there are many friends and family members

who are closely connected to the federal government by proxy.

       In particular, nearly 15,000 individuals work for Congress directly, and many

more residents have friends and family who do. 6 Another large share are in, or

have friends and family in, the many law enforcement groups who took part in

responding to January 6. 7 This means that an enormous share of District of

       5
       Trends in Federal Employment in DC, DC Policy Center (Mar. 28,
2019),https://www.dcpolicycenter.org/wp-content/uploads/3019/03/Fed-jobs-role-
in-DCeconomy.png
       6
        Vital Statistics on Congress, Brookings Institute (July 11, 2013),
https://www.brookings.edu/wp-content/uploads/2016/06/Vital-Statistics-Chapter
-5- Congressional-Staff-and-Operating-Expenses_UPDATE.pdf.
       7
         As reported in the Human Capital Strategic Plan, as of early 2021,
2,250 individuals were employed by the U.S. Capitol Police Force. Human
Capital Strategic Plan 2021-2025,U.S.Capitol Police,
(2020),https://www.uscp.gov/sites/uscapitolpolice.house.gov/files/wysiwyg_uploa
ded/USCP%20Human%20Capital%20Strategic%20Plan%20for%202021-2025.p
df. 4,400 individuals are employed by the Metropolitan Police Force, and 2,700
individuals are active members of the D.C. National Guard. See Metropolitan
Police Force Annual Report 2020, DC.gov (2020),
https://mpdc.dc.gov/sites/default/files/dc/sites/mpdc/publication/attachments/AR
2020 _lowres_a.pdf ; see also About Us, DC National Guard (2020),
https://dc.ng.mil/About-Us/. More than 140 officers were allegedly injured from
theevents of January 6. See Michael Schmidt, Officers’ Injuries, Including
                                                                          (continued...)

                                             -6-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 7 of 22




Columbia residents have significant and unique connections with individuals or

institutions that were affected by January 6. Such connections are not likely to be

present in any other comparable district. The government has characterized the

events of January 6 – including the allegations against Mr. Doolin (18 U.S.C. §

1752(a)(1) & (a)(2)) – as an attack on our elections, government institutions

generally, and democracy as a whole, suggest that those District residents closely

connected to the government are more likely to view themselves as the direct

victims of the events.

      Second, even District residents that have no direct connection to the

government reported feeling deeply traumatized by the events that took place so

close to where they live and work. For example, one DC resident shared in an

interview that:

             I have not been able to digest any of the atrocities that took
             place last night here in Washington, D.C., you know,


7
 (...continued)
Concussions, Show Scope of Violence at Capitol Riot, N.Y. Times (July 12,
2021),
https://www.nytimes.com/2021/02/11/us/politics/capitol-riot-police-officer injuri
es.html. And while not all individuals employed by these agencies reported to
the Capitol on January 6, all 9,350 individuals were directly and adversely
affected by the January 6 events in the form of increased presence and overtime
demands in the weeks that followed, greatly affecting morale. Indeed, as
reported by local media, more than 75 officers left the Capitol Police force in the
few months following January 6. More Than 75 Capitol Police Officers Have
Quit Amid LowMorale Since Jan. 6, The Hill (July 7, 2021),
https://thehill.com/policy/national security/561832-more-than-75-capitol-police-
officers-have-quit-amid-low-morale since.

                                          -7-
          Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 8 of 22




               literally eight blocks away from my front door[.] I’ve been
               having a lot of conversations with people this morning,
               loved ones. We’re all hurting. We’re terrified. We’re in
               shock. And I think it's going to take a while. This is by far
               the darkest moment of my 45-year existence. 8

      Such accounts are typical of those gathered in interviews in the days

following January 6th, during which the Mayor declared a state of emergency,

implemented a city-wide curfew, restricted access to particular roads and bridges,

and requested that residents not attend inauguration.9 District neighborhoods

became occupied by the Metropolitan Police and over 25,000 military personnel in

the weeks that followed.10 Indeed, a local subsidiary of the national public

broadcasting network, DCist, reported that:



      8
         D.C. Resident Who Gave BLM Protesters Refuge Condemns 'Atrocities'
at U.S. Capitol, CBC (Jan. 7, 2021),
https://www.cbc.ca/radio/asithappens/as-it-happens thursday-edition-1.586481
6/d-c-resident-who-gave-blm-protesters-refuge-condemns atrocities-at-u-s-capit
ol-1.5864894.
      9
        Mayor Bowser Orders Citywide Curfew Beginning at 6PM Today,
DC.gov (Jan. 6, 2021),
https://mayor.dc.gov/release/mayor-bowser-orders-citywide-curfew-beginning 6
pm-today;Mayor Bowser Issues Mayor’s Order Extending Today’s Public
Emergency for 15 Days, DC.gov (Jan 6, 2021),
https://mayor.dc.gov/release/mayor-bowser-issues mayor%E2%80%99s-order-e
xtending-today%E2%80%99s-public-emergency-15-days-a1; Jane Recker, DC
Mayor Says Americans Should Not Come to Washington for the Inauguration,
Washingtonian (Jan. 11, 2021) (noting the many street closures),
https://www.washingtonian.com/2021/01/11/dc-mayor-says-americans
should-not-come-to-washington-for-the-inauguration/
      10
         Ellen Mitchell, Army: Up to 25,000 National Guard in DC for Biden
Inauguration, The Hill (Jan. 15, 2021),
https://thehill.com/policy/defense/534497-army-up-to-25000-national-guard-in-d
c-for-biden-inauguration.

                                            -8-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 9 of 22




             Residents have rescheduled medical appointments or
             switched up their bike and run routes to steer clear of
             downtown D.C. or the Capitol complex. Others say they are
             avoiding speaking Spanish in public or buying items like
             baseball bats for personal protection. Some are making
             plans to leave the city for inauguration. And many have
             feelings of anger, sadness, and heightened anticipation for
             the near future. […] Some residents are also worried that
             a stepped up military and police presence in the city may
             only add to their unease. 11

      Moreover, as the Court is no doubt aware, the effects of these events continue

to be felt in the District. Indeed, District residents reacted with fear in anticipation

of protests planned for September of 2020 that were intended to show support for

individuals detained in connection with prosecutions arising from the events of

January 6. For example, the New York Times ran a piece titled “Washington, D.C.
                                     12
On Edge Over January 6 Protests,”         and the Associated Press similarly reported

“In Edgy Washington, Police Outnumber Jan 6 Protestors,” capturing the District’s

overall tenor and response to these ongoing demonstrations.13

      Third, an overwhelming number of District of Columbia residents — over 92



      11
          Jenny Gathright and Rachel Kurzius, What It Feels Like to Live
Under D.C.’s State of Emergency, DCist (Jan. 13, 2021),
https://dcist.com/story/21/01/13/dc-state-of emergency-residents/
      12
         Jonathan Weisman and Matthew Rosenberg, Washington, D.C., on
Edge Over Protest of Jan. 6 Arrests, N.Y. Times (Sept. 18, 2021),
https://www.nytimes.com/2021/09/18/us/politics/capitol-sept-18-rally.html
      13
         Associated Press, In Edgy Washington, Police Outnumber Jan. 6
Protesters, US News (Sept. 18, 2021),
https://www.usnews.com/news/politics/articles/2021-09-18/police-say-theyre-
ready-for-rally-supporting-jan-6-rioters.

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       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 10 of 22




percent — voted for President Biden.14 According to the government’s theory of the

case, Mr. Doolin and the others charged in connection with January 6 did what they

did in order to prevent Joseph Biden from becoming President notwithstanding his

share of the electoral and popular vote.15 That is, the government’s theory is that

Mr. Doolin and others were seeking to nullify the votes of an overwhelming majority

of District residents 16 – in the only national election in which District residents

have any say, given their lack of representation in Congress. See, e.g., Castanon v.

United States, 444 F. Supp. 3d 118, 139 (D.D.C. 2020) (“Article I contemplates that

only ‘residents of actual states’ have and may exercise the House franchise”) (citing

Adams v. Clinton, 90 F. Supp. 2d 35, 47 (D.D.C.), aff’d sub nom. Alexander v.

Mineta, 531 U.S. 940 (2000)), reconsideration denied, No. CV 18-2545, 2020 WL

5569943 (D.D.C. Sept. 16, 2020), aff’d, No. 20-1279, 2021 WL 4507556 (U.S. Oct. 4,

2021). Finally, the government, the media, and even judges in this division speak of

these prosecutions as designed to prevent “another January 6,” and District of

Columbia residents know that a repeat of January 6 can only take place in their




       14
        General Election 2020: Certified Results, DC Board of Elections (Dec. 2,
2020), https://electionresults.dcboe.org/election_results/2020-General-Election.
       15
         See, e.g., Gov’t Mem., ECF No. 19 at 13 (characterizing the events as an
attempt to occupy the Capitol in order to prevent the certification of the Electoral
College results).
       16
            See id.

                                           -10-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 11 of 22




home. 17 As such, the residents of the District sitting as jurors are highly likely to

view Mr. Doolin not only as someone who victimized them, but also as someone who

might victimize them again in the future, raising a concern about punishing for

propensity.

      Given the electoral makeup of the District, it would be impossible to empanel

a jury that was not full of people that the government charges were the targets of

Mr. Doolin’s alleged offenses. Cf. Mu’Min v. Virginia, 500 U.S. 415, 429 (1991) (the

population of the greater metro area, including Virginia and Maryland, was large

enough to not support an inference of prejudice by media reporting). Thus, though

significantly more populous than the pool in Rideau, for example, Mr. Doolin

submits that the impact of the events of January 6 was felt by a far greater

proportion of the residents and felt much more personally and viscerally. The

events of January left those residents—and therefore the jury pool—neither

impartial nor indifferent.




      17
         See, e.g., Zachary B. Wolf, These Republicans Are Worried About Trump's
Attempted Coup 2.0, CNN (Nov. 5, 2021)
https://www.cnn.com/2021/11/05/politics/january-6-insurrection-trump-
documentary-what-matters/index.html; see also Jordan Fischer et. al, Judge
Skewers DOJ At January 6 Sentencing, WUSA9 (Oct. 28, 2021) (explaining that the
sentence was designed to alert “others who might consider attacking the Capitol
to know their punishment would ‘hurt.’”),
https://www.wusa9.com/article/news/national/capitol-riots/resolving-the-crime-of-
the-century-with-misdemeanors-judge-skewers-doj-at-january-6-sentencing-beryl-
howell-jack-griffith-anna-morgan-lloyd/65-352274e8-7279-4792-a878-cf4cb0cc20ae .

                                          -11-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 12 of 22




      B.     The nature and volume of national and local media coverage
             weigh in favor of finding that there is a presumption of
             prejudice because of greater saturation and impact at the local
             level.

      Where pervasive pretrial publicity has “inflamed passions in the host

community” and “permeat[es] the trial setting . . . [such] that a defendant cannot

possibly receive an impartial trial,” the district court must presume local prejudice

and transfer the proceeding. United States v. Quiles-Olivo, 684 F.3d 177, 182 (1st

Cir. 2012); see also Sheppard v. Maxwell, 384 U.S. 333, 362 (1966) (“Due [P]rocess

requires that the accused receive a trial by an impartial jury free from outside

influences.”). This is especially true where publicity is both extensive and

sensational in nature. Quiles-Olivo, 684 F.3d at 182. That said, observing that

“prominence does not necessarily produce prejudice, and juror impartiality does not

require ignorance,” the Supreme Court has repeatedly rejected claims of prejudice

that rely exclusively on negative but dispassionate media reporting. Skilling, 561

U.S. at 358 (citing Irvin, 366 U.S. at 722). Something more, such as charged

rhetoric or the reporting of gruesome details, is needed to establish prejudice. See

id. (rejecting the argument that media coverage was prejudicial where “media

coverage, on the whole, had been objective and unemotional, and the facts of the

case were neither heinous nor sensational.”). The Court has repeatedly recognized

that “something more” exists when the media coverage is particularly

inflammatory, and where it pervades the court proceedings. See Murphy, 421 U.S.


                                         -12-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 13 of 22




at 799 (1975) (“In those cases the influence of the news media, either in the

community at large or in the courtroom itself, pervaded the proceedings”); see also

id. (“[P]roceedings in these cases were entirely lacking in the solemnity and sobriety

to which a defendant is entitled”). Finally, the problematic media must either be

local in distribution, or must have greater local saturation or impact than in other

districts; otherwise, there is no disparate prejudicial effect between different

(comparable) venues.

       For example, in Skilling, the defendant cited to hundreds of media reports

about the Enron scandal in his motion for a transfer of venue. 561 U.S. at 358. He

argued that as the former Chief Executive Officer, such articles necessarily

implicated him by proxy, if not directly. See id. The Court disagreed, referencing its

earlier opinions concerning the modern ubiquity of news media, and reiterating its

former conclusion that volume does not, on its own, create prejudice. See id. at 382.

Rather, it is sensationalism of the type that would be easily remembered—not an

objective reporting of the facts—that was found to be prejudicial in prior cases

before the Court. 18 Id. at 381. The Court observed that the stories that Skilling

cited about Enron contained “no confessions, no blatantly prejudicial information,”

and were “largely objective and unemotional.” Id. at 370-71, 382 (observing that

       18
         Of course, as the concurrence in part pointed out, voir dire later revealed
that these “objective” media reports had indeed created a bias among many
potential jurors, and that the District Court failed to properly vet their assurances
of impartiality after those biases were revealed. See id. at 427 (Sotomayor, J.,
concurring in part).

                                           -13-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 14 of 22




none of the reports “invited prejudgment of his culpability”). As such, the Court held

that it was inappropriate to apply a broad presumption of prejudice.

      Here, in a city still feeling the impacts described supra, the pre-trial

publicity—both national and local–has only served to enhance and sustain the

effects and by extension, sentiments about the participants. The volume, depth of

coverage, and duration of the reporting about January 6 has been almost entirely

unprecedented, perhaps only comparable to the reporting following September 11.19

And viewers who identified as Democrats—like most of the District population —

were 20% more likely to have reported hearing “a lot” about the events than those

who identify as Republicans.20 It has also been sensational, including the repeated

showing of select snippets of photographic and video footage appearing to show the

destruction of the Capitol property and officers in distress. Indeed, some of these

officers have testified before Congress about their experiences that may or may not

have been representative of the whole—testimony that was also widely circulated in

print and through video.21


      19
          “Nearly seven-in-ten adults (69%) say they have heard ‘a lot’ about the
rioting at the U.S. Capitol on Jan. 6.” Views on the Rioting at the US Capitol, Pew
Research Center (Jan. 15, 2021),
https://www.pewresearch.org/politics/2021/01/15/views-on-the-rioting-at-the-u-s-
capitol/ ; compare with The War On Terrorism, Pew Research Center (May 23,
2002), https://www.pewresearch.org/journalism/2002/05/23/the-war-on-terrorism/.
      20
           See Id.
      21
           See, e.g., Police Officers Deliver Emotional Testimony About Violent Day at
                                                                               (continued...)

                                             -14-
           Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 15 of 22




           The language used in media coverage of the events of January 6 and of the

defendants involved in those events has been especially charged and inflammatory.

Reporters and their interviewees, including members of Congress, consistently refer

to the defendants as “insurrectionists,” “rioters,” “seditionists,” “domestic terrorists”

“white supremacists” and “criminals” in the media.22 For example, in late January,

President Biden referred to those involved in the January 6 events as “a group of

thugs, insurrectionists, political extremists, and white supremacists.” 23 Similarly,

representative Cori Bush called the January 6 incident “a white supremacist

insurrection” and a “domestic terror attack.” 24 The coverage of the scene itself has

also been sensationalist, relying on gruesome details in click-bait headlines to

galvanize the public. For example, a recent video released on CNN began:




21
     (...continued)
the Capitol, Washington Post (July 27, 2021),
           22
                See Ex. 1 (subset of media coverage in summary form).
           23
         Remarks by President Biden at Signing of an Executive Order on Racial
Equity, The White House (2021), https://www.whitehouse.gov/briefing-
room/speeches-remarks/2021/01/26/remarks-by-president-biden-at-signing-of-
anexecutive-order-on-racial-equity/.
           24
         Rep. Cori Bush Calls Trump ‘White Supremacist-in-Chief', NBC4
Washington (Jan. 13, 2021), https://www.nbcwashington.com/news/national-
international/rep-cori-bush-calls-trump-white-supremacist-in-chief/2540892/.

                                                -15-
        Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 16 of 22




“Hours after the last rioters had been pushed from the Capitol, when there was still

glass on the stairs and blood on the floors, Congress tried to get back to the business

of democracy . . .” 25

        This is hardly comparable to the “unemotional” reporting on Enron’s collapse

and the white collar crime allegations against its management as described by the

Court in Skilling. 561 U.S. at 371-72, 382.

        Additionally, much of the early reporting has since been shown to be

factually inaccurate. For example, immediately following the events of January 6,

President Biden, among other high-profile individuals, claimed that January 6

protestors killed Officer Brian Sicknick, and he repeated the claim months after it

became clear that there was no basis for it. 26 Even the official press release stated

that:

                 Officer Brian D. Sicknick passed away due to injuries sustained while
                 on-duty. Officer Sicknick was responding to the riots on Wednesday,
                 January 6, 2021, at the U.S. Capitol and was injured while physically
                 engaging with protesters. 27




        25
             Wolf, supra note 16 (emphasis added).
        26
         Christian Datoc and Jerry Dunleavy, Biden Claims Jan. 6 Rioters Killed
Capitol Police Officer Brian Sicknick, Washington Examiner (June 17, 2021),
available at https://www.yahoo.com/now/biden-claims-jan-6-rioters-
161300824.html.
        27
         Press Release: Loss of USCP Officer Brian Sicknick, United States Capitol
Police (Jan. 7, 2021) (emphasis added), https://www.uscp.gov/media-center/press-
releases/loss-uscp-colleague-brian-d-sicknick.

                                             -16-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 17 of 22




      These claims were widely circulated and did reputational damage to

defendants before the medical examiner quietly reported—more than four months

later—that Officer Sicknick died of two strokes, and that he sustained no internal

or external injuries from his exposure to chemical spray on January 6.28 The often

repeated but wrong claim that protesters killed this officer could be especially

prejudicial to Mr. Doolin, who also stands accused of possessing what appears to be

a chemical spray cannister.29

      The saturation of this charged and inflammatory reporting in the District is

so substantial that it would be surprising to identify any potential jurors who have

not been exposed to the coverage. One only need look to the Washington Post

comments section to observe the inflammatory attitudes of its readers who convict




      28
         Capitol Police Officer Died of Natural Causes, Officials Say, Washington
Post (Apr. 19, 2021), https://www.washingtonpost.com/local/public-safety/brian-
sicknick-death-strokes/2021/04/19/36d2d310-617e-11eb-afbe-
9a11a127d146_story.html.
      29
         See, e.g., Actions by Proud Boy at Capitol Show ‘Planning, Determination,
and Coordination,’ U.S. alleges, Washington Post (Jan. 2021),
https://www.washingtonpost.com/local/legal-issues/brothers-charged-eugene-
goodman-chase/2021/01/29/80dec868-6239-11eb-afbe-9a11a127d146_story.html; see
also Proud Boys Organizer, Rioter Who Attacked Officer Arrested, ABC News (Jan.
20, 2021) (“Robert Gieswein — part of the Oath-keepers, an extremist group related
to The Three Percenters — was charged with assaulting a federal officer with bear
spray and a baseball bat.”), https://www.ktsa.com/proud-boys-organizer-rioter-who-
attacked-officer-arrested/; see also Video Investigation: Proud Boys Were Key
Instigators in Capitol Riot at 8:00-9:00, WSJ (Jan. 26, 2021),
https://www.wsj.com/video/series/in-depth-features/video-investigation-proud-boys-
were-key-instigators-in-capitol-riot/37B883B6-9B19-400F-8036-15DE4EA8A015.

                                          -17-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 18 of 22




defendants who are still pending trial. 30 And although some in the jury pool may

not have heard of Mr. Doolin specifically, his presence at the Capitol that day will

necessarily cause prospective jurors to link his conduct to the January 6 reporting

generally. And as the Court found in Rideau, “[a]ny subsequent court proceedings in

a community so pervasively exposed to such a spectacle could be but a hollow

formality.” 373 U.S. at 726.

       Finally, the media has widely reported comments of U.S. District Court

Judges in this District regarding the events of January 6. For example, in

comments that were widely reported, a judge stated that “everyone participating in

the mob contributed to [the January 6] violence,” and went on to conclude that

“[m]embers of a mob who breach barriers and push back officers to disrupt the joint

session of Congress are not trespassers, they are criminals.” 31 There is no doubt

that more than only District residents were exposed to these comments, which were

in effect legal conclusions about every January 6 defendant who will go before a jury

in this District. However, while the media coverage of these comments, among

others, may not create disparate prejudice between the District jury pool and other

jury pools by nature of its national broadcast, it does create disparate prejudice at


       30
          See Ralph Joseph Celentano III, accused Capitol rioter, charged with pushing
officer over ledge - The Washington Post
       31
          ‘Almost Schizophrenic’: Judge Rips DOJ Approach to Jan. 6 Prosecutions,
Politico (Oct. 28, 2021) (emphasis added),
https://www.politico.com/news/2021/10/28/almost-schizophrenic-judge-rips-doj-
approach-to-jan-6-prosecutions-517442; see also Fischer et al., supra note 16.

                                           -18-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 19 of 22




the venue itself: because the comments were made by a member of the same court

that is expected to provide instructions on burdens of proof and the presumption of

innocence—instructions that are in direct conflict with the declarations that those

involved are “criminals”—there is a serious question as to whether the earlier

comments will be disregarded in favor of the instructions that carry precisely the

same institutional authority. Thus, by members of this Court commenting on guilt

prior to trial, this venue is necessarily tainted.

      C.     The timing of the proceedings weighs in favor of finding a
             presumption of prejudice.

      Finally, in determining whether any prior prejudice has been mitigated by

the passage of time, the Supreme Court has considered the years between the

exposure of the offense conduct and the trial. For example, in Skilling, the Court

found that because more than four years had passed between the Enron scandal

and the defendant’s trial, “the decibel level of media attention diminished somewhat

in the years following Enron’s collapse,” and any exposure to the early reporting

would have become attenuated. Skilling, 561 U.S. at 383.

      Here, in the 17 months since January 6, 2021, media reporting about the

events of January 6 remains at an all-time high. This has been especially true in

recent weeks, given the high-profile House Select Committee activities focused on

investigating the events. In the last two months alone, new in-depth articles and

deo analyses about January 6 have appeared in the Washington Post, New York


                                           -19-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 20 of 22




Times, CNN, Vanity Fair, Rolling Stone, and NPR, among many others.32

      Additionally, many documentaries that include extensive footage of the day

have been released—footage that would likely be offered into evidence by the

prosecution at trial. For example, HBO released a feature-length Four Hours at the

Capitol in late October, 2021, which includes one of the most widely-circulated

videos from that day: the breaking of a Capitol window. 33 There is no reason to

think that coverage will wane before Mr. Doolin’s September, 2022, trial, especially

given the recent activities of the Select Committee.34


      32
         Dan Berman, The Latest in the Jan. 6 Investigation, CNN (Nov. 28,
2021), https://www.cnn.com/2021/11/28/politics/january-6-
investigation/index.html; see also Inside the Capitol Riot: An Exclusive Video
Investigation, N.Y. Times (Nov. 10, 2021),
https://www.nytimes.com/2021/06/30/us/jan-6-capitol-attack-takeaways.html;
see also Jacqueline Alemany et al., The Attack, Washington Post (Sept. 26,
2021), https://www.washingtonpost.com/politics/interactive/2021/jan-6-
insurrection-capitol/; see also Hunter Walker, The ‘JusticeForJ6’ Rally Wasn’t a
Joke — It Was A Warning: support for the Capitol insurrectionists has taken
root firmly inside the GOP, Rolling Stone (Sept. 18, 2021),
https://www.rollingstone.com/politics/politics-features/justiceforj6-rally-
insurrection-capitol-trump-1228690/; see also Bess Levin, January 6 Organizers
Threw Back Champagne and Charcuterie as the Capitol Was Attacked, Vanity
Fair (Nov. 22, 2021), https://www.vanityfair.com/news/2021/11/january-6-
organizers-text-messages-champagne-charcuterie.
      33
         Four Hours at the Capitol, HBO (Oct. 4, 2021); see also Day of Rage: How
Trump Supporters Took the U.S. Capitol at 18:17-21, N.Y. Times (June 30, 2021),
https://www.nytimes.com/video/us/politics/100000007606996/capitol-riot-trump-
supporters.html.
      34
        Although the official schedule of the Select Committee has been clear
for some time, the Committee members are active in their investigation, having
recently issued several subpoenas and moved to enforce subpoenas that were
                                                                         (continued...)

                                          -20-
       Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 21 of 22




      Interest in the events of January 6, 2021, has been high since that day, and it

has not waned in the District in the short time since. As such, the timing of the

proceedings weighs in favor of a finding of presumed prejudice.

                                   CONCLUSION

      WHEREFORE, for the foregoing reasons and such other reasons that may

appear just and proper, Mr. Doolin requests this Court to grant this motion and

transfer the case to the Middle District of Florida.

      Defendant, by counsel, requests a hearing on this motion.




34
  (...continued)
ignored. See, e.g., Zachary Cohen et al., New January 6 Committee Subpoenas
Issued for 5 Trump Allies Including Roger Stone and Alex Jones, CNN (Nov. 22,
2021), https://www.cnn.com/2021/11/22/politics/roger-stone-alex-jones-
subpoenas-january-6/index.html; see also Jan. 6 Committee Prepares to Hold
Former Trump DOJ Official in Criminal Contempt, Washington Post (Nov. 30,
2021), https://www.washingtonpost.com/politics/clark-contempt-january-
6/2021/11/29/17b009aa-514f-11ec-8927-c396fa861a71_story.html ; see also
Charlie Savage, Appeals Court Questions Trump’s Bid for Secrecy on Jan. 6
Papers, N.Y. Times (Nov. 30, 2021),
https://www.nytimes.com/2021/11/30/us/politics/trump-executive-privilege-
capitol-riot.html.



                                         -21-
      Case 1:21-cr-00447-CJN Document 110 Filed 06/06/22 Page 22 of 22




                                   Respectfully Submitted,



                                                 Digitally signed
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                                                 Orenberg
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Dated: June 6, 2022




                                    -22-
